      Case 1-18-47256-cec             Doc 27       Filed 03/18/19    Entered 03/18/19 14:38:21




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re
                                                                    Case No. 18-47256-CEC
4921 12th Avenue LLC,
                                                                    Chapter 11
                                    Debtor.
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              ORDER DENYING APPLICATION FOR ORDER TO SHOW CAUSE

       WHEREAS, on December 20, 2018, 4921 12th Avenue LLC (the “Debtor”) filed a
voluntary petition under Chapter 11 of the Bankruptcy Code; and

       WHEREAS, on March 15, 2019, the Debtor filed an application for an order to show
cause seeking an order (1) determining that Galster Funding, LLC (“Galster”) violated the
automatic stay under § 362(a) by continuing a pre-petition action pending in the Supreme Court
of New York, Kings County (the “Galster Action”) against the Debtor and Yehuda Salamon, the
Debtor’s principal, and others; (2) awarding actual and punitive damages; and (3) staying the
Galster Action pursuant to 105(a); and

        WHEREAS, “[a] suit against a codefendant is not automatically stayed by the debtor’s
bankruptcy filing,” Queenie, Ltd. v. Nygard Int'l, 321 F.3d 282, 287 (2d Cir. 2003), see also Am.
Film Techs., Inc. v. Taritero (Am. Film Techs., Inc.), 175 B.R. 847, 850 (Bankr. D. Del. 1994)
(“The automatic stay affords protection only to debtors and does not extend to ‘co-tortfeasors,’
‘joint obligors,’ ‘guarantors,’ ‘sureties,’ or other non-debtor ‘co-defendants.”’); and

       WHEREAS, a court may stay an action against a non-debtor entity pursuant to 11 U.S.C.
§ 105(a), Queenie, 321 F.3d at 288; Am. Film Techs., 175 B.R. at 848, 855; and

       WHEREAS, any request to stay an action against a non-debtor must be sought by the
commencement of an adversary proceeding, see Fed. R. Bankr. P. 7001(7), In re Garnett, 47 B.R.
170, 171 (Bankr. E.D.N.Y. 1985);

        NOW, THEREFORE, it is

        ORDERED, that the application for an order to show cause is denied.




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 Dated: Brooklyn, New York                                                   Carla E. Craig
        March 18, 2019                                               United States Bankruptcy Judge
